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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)




                       ORDER SCHEDULING OMNIBUS HEARING DATES

         Pursuant to Del. Bankr. LR 2002-1(a), the Court has scheduled the following omnibus
hearing dates in the above-captioned proceedings:

                                   February 8, 2023 at 1:00 p.m. (ET)

                                    March 8, 2023 at 1:00 p.m. (ET)

                                     April 12, 2023 at 1:00 p.m. (ET)




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.



{1368.002-W0069368.}
